Case 3:21-cr-01559-H Document 2011-2 Filed 02/06/23 PageID.7874 Page 1 of 5




                      DECLARATION OF TERRY TYLER
I, Terry Tyler, declare as follows:
   1. My name is Terry William Tyler. I use my middle name and go by “Wil.” I
      am the Defendant in this case. I make this declaration from personal
      knowledge, under penalty of perjury, and if called as a witness I could and
      would testify competently to the matters set forth herein.
   2. I am a drug addict. I am 50 years old and I have been using drugs for most
      of my adult life. I primarily use opiates such as fentanyl or oxycodone, but I
      also use methamphetamine and cocaine.
   3. I was arrested in this case on or about June 20, 2021. I read that date off the
      docket. I have a recollection of being arrested, but not of the precise date.
      At the time, I had a heavy physical dependence on drugs, and was heavily
      using high dosages of both fentanyl and methamphetamine.
   4. Beginning in my teenage years, from approximately the age of 16, I have
      taken both prescribed and contraband controlled substances. I have been
      diagnosed with ADHD, major depressive disorder, and PTSD, and I have a
      score of 4 of above on the Adverse Childhood Experience scale, which is a
      “high severity” rating.
   5. I am requesting that my treating medical professionals here in San Diego
      provide a statement to the Court as well. I have been treated here in San
      Diego by Dr. Horvath, Dr. Galant, and Dr. Camlin of Practical Recovery. I
      have previously been treated by doctors in Nashville, Tennessee, Denver,
      Colorado, and Yale University in Connecticut. The focus of all these
      medical interventions and treatment has been severe substance use disorder.
      I suffer from this disorder, and have suffered from it since I was a teenager.
      I am what our society calls a “drug addict,” which is a term that I do not like
      because it is so highly stigmatized and emotionally charged. The substances
      on which I have developed a physical and psychological dependence include
      both opiates, including heroin and fentanyl, and amphetamines, including
      methamphetamine.
   6. At the time of my arrest, I was physically dependent on the previously
      mentioned substances, and was not provided with any treatments for
      withdrawal by the facility in which I was imprisoned, GEO Western Region,
      in San Diego. I was given Ibuprofen and Imodium AD. I went through:
      chills, shaking, fever, sweating, freezing, inability to sleep, aches, paranoid
      depression, hallucinations. I was given no mental health treatment
                                       1
                        DECLARATION OF TERRY “WIL” TYLER
Case 3:21-cr-01559-H Document 2011-2 Filed 02/06/23 PageID.7875 Page 2 of 5




     whatsoever. (The first time I was allowed to see a psychiatrist was two
     weeks ago, in late November 2022).
  7. Withdrawal is extremely painful and difficult to go through, and requires
     continued treatment not only for symptoms of withdrawal, but also for the
     underlying issues which the medicines were being used to address in the first
     place. These underlying issues have now been exacerbated further by the
     stress of incarceration and absence of effective coping skills, therapy, and
     medications. Feeling like I lacked alternatives, I sought out the contraband
     drugs that were readily available throughout the facility and continued to use
     them throughout my stay and even upon release on bond. Throughout this
     time, from my initial arrest through my release on bond and my subsequent
     arrest, I was physically dependent upon fentanyl and methamphetamine, so
     much so that I overdosed twice and received treatment in the emergency
     room while I was out on bond.
  8. After my initial arrest, in June 2021, I hired a law firm from Atlanta,
     Lowther Walker, to represent me. The person I hired was the firm’s partner,
     Mr. Murdoch Walker, but he never came to San Diego or met with me.
     Instead, the law firm sent a young attorney named Katryna Spearman out to
     San Diego. She was hesitant and tentative, and seemed to have very little
     experience practicing law. The first time I remember meeting her in person
     was on or about July 19, 2021, when I was brought to a conference room in
     the U.S. Attorney’s Office. Ms. Spearman was there and so was the
     prosecutor Matthew Sutton and some other people. Ms. Spearman did not
     meet with me separately beforehand. I remember the prosecutor talked a lot,
     and then everyone left the room except Ms. Spearman, and she handed me a
     bunch of papers and told me to sign and initial them. She told me generally
     that it was a plea agreement, but did not go over the documents with me
     paragraph by paragraph. The whole process was very rushed. For example,
     she pointed out some “Offense Level” numbers, but didn’t tell me what the
     Offense Level numbers meant. She was a nice person, but I don’t think she
     really understood what was going on. It appeared to me that she was
     intimidated by the process and the prosecutors and that the prosecutors
     essentially told her that she had to get me to take this deal right now, and she
     went along with them. She didn’t try to get Mr. Murdoch on the phone so I
     could talk with him. She just told me to sign.
  9. Ms. Spearman never went over evidence or discovery with me at all. I
     didn’t see her with any folders of documents when we met, and she never
                                     2
                      DECLARATION OF TERRY “WIL” TYLER
Case 3:21-cr-01559-H Document 2011-2 Filed 02/06/23 PageID.7876 Page 3 of 5




     made any reference to having seen any evidence against me, so as far as I
     can tell, she never looked at or asked for any discovery, and she did not
     know what the evidence was against me at the time she told me to sign the
     plea agreement. At the time I signed the plea agreement, I had never seen
     any evidence or discovery.
  10. Ms. Spearman told me that the prosecutor had told her that if I signed the
     plea agreement the prosecution was offering, then my girlfriend, Lillian
     Paige Weigh, would not be charged in this case, and the prosecution would
     agree to my release on bond until sentencing. Neither of these promises
     were in the written plea agreement, I later found out.
  11. I was desperate to be released on bond until sentencing, because I wanted to
     attend my daughter’s wedding, and because I was in great distress from the
     physical and psychological symptoms of withdrawal, and I believed that I
     would be able to obtain the drugs on which I was dependent if I were
     released.
  12. After I pled guilty, Ms. Spearman walked to Mrs. Weigh, Paige’s mother,
     who was in the courtroom, and I heard her say: “Don’t worry, your daughter
     won’t be charged.” Then, at that same hearing, just a few minutes after
     pleading guilty, I was brought back before the judge for a bond hearing that
     was a joint motion between the prosecution and the defense. At my first
     appearance, the prosecution had told the Court that I should be detained and
     was much too high-risk to be given bond.
  13. I was under the influence of drugs both in the meeting with prosecutors and
     at the time of my plea. The prosecution knew I was physically and
     psychologically dependent on drugs and was desperate to buy and use drugs,
     and the prosecution must have known that offering to let me out on bond if I
     signed the papers and pled guilty was the same thing as telling me that if I
     signed the papers and pled guilty, I would be able to get illegal drugs. The
     prosecutor didn’t say that explicitly, obviously, but I think it was unfairly
     exploiting my drug dependency to dangle “You’ll get out on bond if you
     plead” in front of me to get me to sign the papers and plead guilty.
  14. I expect that the prosecutor will file a brief denying making that deal with
     Ms. Spearman, that he’d let me out on bond if I pled guilty. But I think the
     fact that the prosecutor made a joint motion to reconsider my bond and let
     me out immediately after I signed the plea agreement, after he had
     previously argued that I needed to be detained and should never be given
     bond, is pretty good proof that that prosecutor did make that deal.
                                     3
                      DECLARATION OF TERRY “WIL” TYLER
Case 3:21-cr-01559-H Document 2011-2 Filed 02/06/23 PageID.7877 Page 4 of 5




  15. It was not until long after I pled guilty that I became aware of the actual
     verbiage of the plea agreement, the enhancements and calculations in it, and
     the impact those factors would have on my sentencing. Spearman did not go
     over this in detail with me when she gave me the papers to sign, specifically
     the sentencing enhancement and exposures. At no time did Ms. Spearman
     convey to me, for example, that under the plea agreement I was being made
     a leader/organizer for a “Southern California Drug Trafficking
     Organization”, or a “higher volume methamphetamine” distributor. She just
     told me to sign, that this was what the government was offering and it was
     the best deal I was going to get. The facility was in lockdown, and we did
     not have access to a law library or to Lexis Nexis. And I had no chance to
     do any research anyway, because she had me sign the papers right there in
     the conference room. It was only when I got different counsel, much later,
     that I actually was able to read carefully through the plea agreement with an
     attorney and understand what it said.
  16.In summary, I was driven by the combination of my desire to be there for
     my daughter’s wedding, my desire and physical and psychological need to
     get better drugs, and my inability to reason clearly because I was high. My
     attorney said “sign,” so I signed. I have read the plea agreement now—it’s
     Document 972 on the docket of this case. At the time I signed it I did not
     have any more than a vague idea of what it was, and I had no understanding
     of any of the specific details of its provisions. I did not read it, and my
     attorney did not read it to me, nor did she summarize it paragraph by
     paragraph. If I had been in my right mind, as I am now on the date I am
     signing this declaration, I would not have signed the plea agreement.
     My attorney seemed very young and inexperienced, and it seems to me that
     she was steamrolled by the prosecution.
  17.I continued using drugs in July, August, September, October, November,
     and December 2021, while incarcerated. I used whatever drugs I could get
     my hands on in the facility. I was high on November 17, 2021 when I went
     to court to enter my guilty plea. I have a memory of going to court for the
     change of plea hearing, and using fentanyl before going.
  18.I was released on bond on December 23, 2021. I read that date on the
     docket, but I remember that it was right before Christmas. I began using
     drugs again very soon thereafter. I continued using them up until I was re-
     arrested on August 31, 2022.

                                     4
                      DECLARATION OF TERRY “WIL” TYLER
Case 3:21-cr-01559-H Document 2011-2 Filed 02/06/23 PageID.7878 Page 5 of 5




   19.I now wish to withdraw my guilty plea for all the reasons I have just set
      forth. I have instructed my new attorney to file a motion to ask the
      Court to let me withdraw it. I understand that the prosecution will likely
      respond by coming after me as hard as possible. I understand that risk and I
      am willing to accept it, because I cannot bear the thought of being stuck with
      this guilty plea and this plea agreement that I entered into because I was high
      and I did not understand what I was doing and I did not have effective
      advice of counsel.
   20.Since being arrested on August 31, 2022, I have been making an effort to
      wean myself off of the drugs I was using. As I execute this declaration, I am
      not high. When I made the decision to attempt to withdraw my guilty plea, I
      was not high. When I instructed my current attorney to file a motion to
      withdraw my plea, I was not high. I am making these decisions with a sound
      mind, and I humbly ask the Court to grant my request.


Executed under penalty of perjury under the laws of California and the United
States, this date of December 8, 2022, at San Diego, California.




                                                    Terry “Wil” Tyler




                                      5
                       DECLARATION OF TERRY “WIL” TYLER
